

Arias v Vecchione (2024 NY Slip Op 00930)





Arias v Vecchione


2024 NY Slip Op 00930


Decided on February 22, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 22, 2024

Before: Oing, J.P., Kapnick, Kennedy, Mendez, Higgitt, JJ. 


Index No. 21215/11 Appeal No. 1727-1728 Case No. 2022-05758, 2023-03539 

[*1]Virginia Arias et al., Plaintiffs-Appellants,
vJohn Vecchione, DDS, et al., Defendants-Respondents, Jules . Lane, DDS, et al., Defendants.


Kenneth J. Gorman, New York, for appellants.
Amabile &amp; Erman, P.C., Staten Island (Stephanie M. Berger of counsel), for John Vecchione, DDS, respondent.
Kaufman Borgeest &amp; Ryan LLP, New York (Brennan P. Breeland of counsel), for American Dental Offices, PLLC, respondent.



Judgment, Supreme Court, Bronx County (Joseph E. Capella, J.), entered on or about May 1, 2023, in favor of defendants American Dental Offices, P.L.L.C., doing business as American Dental Centers (ADC) and John Vecchione, DDS pursuant to an order, same court and Justice, entered November 18, 2022, which granted their motions to dismiss the complaint, unanimously affirmed, without costs. Appeal from aforesaid order, unanimously dismissed, without costs, as subsumed in the appeal from the judgment.
The court properly dismissed plaintiffs' complaint pursuant to CPLR 3216 (see Baczkowski v Collins Constr. Co., 89 NY2d 499, 503 [1997]; Garcia v Del Pacifico, 299 AD2d 188-283 [1st Dept 2002]). While plaintiffs offered a justifiable excuse for their failure to file a note of issue following defendants' service of 90-day notices, they failed to "submit the affidavit of a medical expert demonstrating the merits of the action" (Walker v City of New York, 46 AD3d 278, 281-283 [1st Dept 2007]). As noted by the motion court, the expert affirmation proffered was vague and conclusory and thus insufficient (see Smith v Montefiore Med. Ctr., 60 AD3d 479 [1st Dept 2009]).
In view of the foregoing, we do not address plaintiffs' further contentions.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 22, 2024








